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                                                                                      FILED
                                                                          United States Court of Appeals
                        UNITED STATES COURT OF APPEALS                            Tenth Circuit

                              FOR THE TENTH CIRCUIT                             October 26, 2021
                          _________________________________
                                                                              Christopher M. Wolpert
                                                                                  Clerk of Court
  KENNETH D. LEEK,

        Plaintiff - Appellant,

  v.                                                            No. 21-3165
                                                       (D.C. No. 5:21-CV-03100-SAC)
  KATHRYN A. ANDROSKI, et al.,                                    (D. Kan.)

        Defendants - Appellees.
                       _________________________________

                                       ORDER
                          _________________________________

 Before MATHESON and BACHARACH, Circuit Judges.
                  _________________________________

        This matter is before the court on the Application for Leave of the Appellate

 Court, which was filed by U.S. Senior District Judge Sam A. Crow (the “Application”).

 Judge Crow presided over the case while it was pending below. The Application seeks

 leave of this court pursuant to Federal Rule of Civil Procedure 60(a) to correct an error in

 the order and separate judgment being appealed.

        Upon consideration, the Application is granted. Proceedings in this appeal are

 abated. The case is remanded to the district court for the limited purpose of addressing

 the issue raised in the Application.

        After the district court concludes its proceedings on limited remand, the district

 court shall supplement the preliminary record with any documents it enters addressing the

 issues in the Application.
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        The current briefing schedule is vacated. This court will reset the deadline for the

 appellant’s opening brief at a later date and advise the appellant in writing of the new

 deadline.


                                               Entered for the Court
                                               CHRISTOPHER M. WOLPERT, Clerk


                                               by: Lara Smith
                                                   Counsel to the Clerk




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